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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                             UNITED STATES DISTRICT COURT                              February 21, 2018
                              SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §   CRIMINAL ACTION NO. 4:11-CR-00001-1
                                                 §   CIVIL ACTION NO. 4:15-CV-3310
CARLOS MANUEL BORIA; aka                         §
RODRIGUEZ; aka VICTOR                            §

                                   OPINION AND ORDER

 ADOPTING MAGISTRATE JUDGE’S MEMORANDUM AND RECOMMENDATION

       Pending before the Court in the above referenced proceeding is Movant Carlos Manuel

Boria’s (“Boria”) § 2255 Motion to Vacate, Set Aside or Correct Sentence (Doc. 515) and

Memorandum of Law in Support (Doc. 516); the United States’ Response and Motion for

Summary Judgment (Doc. 526); and Judge Stacy’s Memorandum and Recommendation that the

Court deny the § 2255 Motion and grant the United States’ Motion for Summary Judgment.

(Doc. 607). Boria moved for an extension of time to object to the Memorandum and

Recommendation (Doc. 612), which was granted (Doc. 614), but no objections were filed.

Standard of Review

       Where no party objects to the Magistrate Judge’s Memorandum and Recommendation,

the Court is not required to perform a de novo review of the Magistrate Judge’s determination,

but need only review it to decide whether it is clearly erroneous or contrary to law. Gamez v.

United States, No. SA-06-CR-401-XR, 2014 WL 2114043, at *2 (W.D. Tex. May 20, 2014)

(citing United States v. Wilson, 864 F.2d 1219, 1221 (5th Cir. 1989)). Once a defendant has been

convicted and has exhausted or waived his or her right to appeal, a Court may presume that he or

she “stands fairly and finally convicted.” United States v. Willis, 273 F.3d 592, 595 (5th Cir.

2001). Therefore relief under § 2255 is limited to “transgressions of constitutional rights and for

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a narrow range of injuries that could not have been raised on direct appeal and would, if

condoned, result in a complete miscarriage of justice.” United States v. Gaudet, 81 F.3d 585, 589

(5th Cir. 1996). The court’s ability to reduce or modify a sentence of imprisonment once it has

been imposed is restricted. United States v. Lopez, 26 F.3d 512, 515 (5th Cir. 1994) (per curiam).

There are four grounds on which a defendant may move to vacate, set aside, or correct his or her

sentence under § 2255: (1) “the sentence was imposed in violation of the Constitution or laws of

the United States”; (2) “the [district] court was without jurisdiction to impose such sentence”; (3)

“the sentence was in excess of the maximum authorized by law”; and (4) the sentence was

“otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). “A defendant can challenge [his or

her] conviction after it is presumed final only on issues of constitutional or jurisdictional

magnitude . . . and may not raise an issue for the first time on collateral review without showing

both ‘cause’ for his[ or her] procedural default and ‘actual prejudice’ resulting from the error.”

United States v. Shaid, 937 F.2d 228, 232 (5th Cir. 1991) (citations omitted).

       The Court has carefully reviewed the filings, the Magistrate Judge’s Memorandum and

Recommendation, and the applicable law and finds the Memorandum and Recommendation is

not erroneous in its factual findings nor contrary to law. Accordingly, the Court hereby adopts

the Magistrate Judge’s Memorandum and Recommendation as its own.

       Finally, under 28 U.S.C. § 2253(c)(1)(B), “Unless a circuit justice or judge issues a

certificate of appealability, an appeal may not be taken to the court of appeals from . . . the final

order in a proceeding under section 2255.” See also Fed. R. App. P. 22(b)(1) (“In a habeas

corpus proceeding in which the detention complained of arises from . . . a 28 U.S.C. § 2255

proceeding, the applicant cannot take an appeal unless a circuit justice or a circuit or district

judge issues a certificate of appealability under 28 U.S.C. § 2253(c).”).


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       Furthermore, “[a] certificate of appealability may issue . . . only if the applicant has made

a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). “A

petitioner satisfies this standard by demonstrating that jurists of reason could disagree with the

district court’s resolution of his[ or her] constitutional claims or that jurists could conclude the

issue presented are adequate to deserve encouragement to proceed further.” Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003), citing Slack v. McDaniel, 529 U.S. 473, 484 (2000). Where

the district court denies a § 2255 motion on the merits, to warrant an certificate of appealability a

movant must be able to show that “reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong.” Henry v. Cockrell, 327 F.3d 429, 431 (5th Cir.

2003), citing Slack, 529 U.S. at 484. A district court may deny a certificate of appealability sua

sponte. Haynes v. Quarterman, 526 F.3d 189, 193 (5th Cir. 2008) (citing Alexander v. Johnson,

211 F.3d 895, 898 (5th Cir. 2000) (per curiam)). Accordingly, it is hereby

       ORDERED the United States’ Motion for Summary Judgment is GRANTED (Doc.

526), the Movant’s § 2255 Motion is DENIED (Doc. 515). It is further

       ORDERED that a certificate of appealability is DENIED.

       SIGNED at Houston, Texas, this 21st day of February, 2018.


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                                                           MELINDA HARMON
                                                    UNITED STATES DISTRICT JUDGE




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